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                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

XIAOLING DONG,                  )            CV 23-00131 JMS-WRP
                                )
             Plaintiff,         )            ORDER ADOPTING
                                )            MAGISTRATE JUDGE’S
      vs.                       )            FINDINGS AND
                                )            RECOMMENDATION TO
ALEJANDRO MAYORKAS,             )            DISMISS ACTION WITHOUT
Secretary of Department of      )            PREJUDICE
Homeland Security; MERRICK      )
GARLAND, U.S. Attorney General, )
                                )
             Defendants.        )
_____________________________ )

      ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND
    RECOMMENDATION TO DISMISS ACTION WITHOUT PREJUDICE


      Findings and Recommendation having been filed and served on all parties

on August 15, 2023, and no objections having been filed by any party,

      IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the Findings and

Recommendations are ADOPTED as the opinion and order of this Court.

      IT IS SO ORDERED.


                                       /s/ J. Michael Seabright
                                      J. Michael Seabright
                                      United States District Judge
